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rs MAGISTRATE JUDGE BRIAN A. TSUCHIDA
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UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON
AT SEATTLE

UNITED STATES OF AMERICA, NO. CR17-276RSM

Plaintiff,

REPORT AND RECOMMENDATION
Vv. CONCERNING PLEA OF GUILTY

FEDIR OLEKSTYOVICH HLADYR,

Defendant.

 

 

The defendant, by consent, has appeared before me pursuant to Rule 11, Fed. R. Crim. P.,
and has entered a plea of guilty to the charges contained in Counts 1 and 16 of the Superseding
Indictment. After examining the defendant under oath, I determined that the guilty plea was
knowingly, intelligently, and voluntarily made, and that the offenses charged are supported by an
independent basis in fact containing each of the essential elements of such offenses.

I therefore ordered a presentence report. Subject to the Court's consideration of the Plea
Agreement pursuant to Fed. R. Crim. P. 11(c)(1)(B), I recommend that the defendant be adjudged

guilty and have sentence imposed.

DATED this [ day of September, 2

BRIAN A. TSUCHIDA
United States Magistrate Judge

 

NOTICE
Objections to this Report and Recommendation are waived unless filed and served within
fourteen (14) days. 28 U.S.C. § 636(b)(1)(B).

REPORT AND RECOMMENDATION UNITED STATES ATTORNEY

. 700 STEWART STREET, SUITE 5220
United States v. HLADYR SEATTLE, WASHINGTON 98101

CR17-276RSM - 1 (206) 553-7970
